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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                          TRENTON VICINAGE


  JANSSEN PHARMACEUTICALS,
  INC.,

        Plaintiff,

  v.                                    Civil Action No. 23-cv-03818-ZNQ-
                                        JBD
  XAVIER BECERRA, Secretary of
  Health and Human Services, et al.,

        Defendants.


   COMBINED OPPOSITION TO DEFENDANTS’ CROSS-MOTION FOR
   SUMMARY JUDGMENT AND REPLY IN SUPPORT OF PLAINTIFF’S
             MOTION FOR SUMMARY JUDGMENT

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                                 INTRODUCTION
       At its core, the Drug Price Negotiation Program constitutes government price-

 setting: A federal agency, the Centers for Medicare & Medicaid Services (“CMS”),

 unilaterally imposes price caps for innovative and widely prescribed drugs,

 including Janssen’s drug Xarelto®. To make the Program more popular with

 voters—and to avoid accountability for its destructive effects on scientific research

 and development—Congress cloaked those price caps in the fiction of voluntariness,

 characterizing them as “negotiated agreements” between manufacturers and CMS.

 But no voluntary agreement is reached under threat of billion-dollar penalties for

 refusing the Government’s “offer.” And no Program is voluntary where failure to

 comply means losing access to nearly half the U.S. healthcare market. Congress

 knew that in a truly voluntary framework manufacturers could refuse CMS’s below-

 market prices. To prevent that outcome, Congress designed the Inflation Reduction

 Act (“IRA”) to make the Program voluntary in theory but mandatory in fact.

       As Janssen explains in its opening brief, that scheme is unconstitutional in

 multiple ways. It violates the Fifth Amendment by effecting a physical taking of

 Xarelto® products through the Program’s statutory “access” right, and also infringes

 Janssen’s First Amendment rights by compelling Janssen to endorse the

 Government’s misleading message that the Program merely involves “negotiating”

 “fair” prices. See Janssen Opening Brief (“Janssen Br.”), ECF 30-1, at 16–35.


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       The Government’s cross-motion for summary judgment doubles down on the

 IRA’s central fiction, insisting that the Program is immune from Janssen’s claims

 because it is “entirely voluntary.” Government Opposition Br. (“Govt Br.”), ECF

 33-1, at 38. That argument is incorrect on the law and the facts. The Program is

 structured so that Janssen is compelled to make its Xarelto® products available at

 whatever price CMS unilaterally decides to pay. Failing to do so would subject

 Janssen to a punitive excise tax equal to 19 times the sale price of Xarelto®.

 Although the Government contends that Janssen has the “option” of withdrawing all

 twenty-one of its medicines (not just Xarelto®), from Medicare and Medicaid, that

 is no option at all. Janssen’s undisputed evidence shows that an across-the-board

 withdrawal from Medicare and Medicaid would deprive millions of patients of

 insurance coverage for their critical medicines and deprive Janssen of approximately

 65 percent of its gross revenues—revenues that are essential for Janssen to continue

 innovating and competing in the marketplace.

       The Government’s remaining voluntariness arguments are equally unavailing.

 The Supreme Court has rejected the Government’s contention that legal (as opposed

 to economic) compulsion is required to establish a constitutional violation. See, e.g.,

 Horne v. U.S. Dep’t of Agric., 576 U.S. 350, 365–66 (2015).             Even if legal

 compulsion were necessary, Janssen has made that showing here given the IRA’s

 requirement that Janssen comply with the Program’s requirements for at least a

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 minimum period or else pay the excise tax. With respect to economic coercion, the

 Government errs in arguing that the Program is voluntary because Janssen could sell

 its rights in Xarelto® to a hypothetical buyer. That argument relies on speculation

 that a willing buyer exists for a drug subject to the Program’s draconian

 requirements, and also ignores the harm to Janssen even if such a buyer could be

 found. The Government’s assertion that it is merely a “market participant” likewise

 fails because CMS acts as a regulator in carrying out the Program—for example, by

 issuing directives backed by civil monetary penalties and claiming the right to amend

 the “agreement” that implements the Program without Janssen’s consent. Moreover,

 CMS possesses significant market power in the prescription drug sector and wields

 that power in a way that would expose any private market participant to antitrust

 enforcement, further underscoring that the Program is not voluntary.

       The Government defends the Program on additional grounds beyond

 voluntariness, but none of those defenses withstands scrutiny.

       As to Janssen’s Fifth Amendment claim, the Government relies on the fact

 that the Program does not haul away physical doses of Xarelto® from Janssen’s

 facilities. But the Supreme Court has reasoned that appropriation of property rights

 is a taking no matter how it is garbed. See Cedar Point Nursery v. Hassid, 141 S.

 Ct. 2063, 2071 (2021). Here, the Program eviscerates Janssen’s right to control the

 disposition of its Xarelto® products by authorizing Medicare participants to “access”

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 those products over Janssen’s objection. See Horne, 576 U.S. at 363. Because that

 scheme produces the same result as if a fleet of government trucks seized the doses

 of Xarelto® and delivered them to third parties, the takings analysis leads to the same

 conclusion.

       With respect to Janssen’s First Amendment claim, the Government does not

 argue that the Program’s requirements can survive any form of heightened scrutiny,

 let alone strict scrutiny. Instead, the Government contends that the Manufacturer

 Agreement Janssen was required to sign is not speech at all. That argument is not

 tenable. The First Amendment protects a broad range of speech, including “creation

 and dissemination of information.” Sorrell v. IMS Health Inc., 564 U.S. 552, 570

 (2011). Here, the compelled speech goes well beyond simple contract terms: The

 IRA forces Janssen to amplify the Government’s message that the Program involves

 an “agreement” to “negotiate” a “fair” price. Such statements would be compelled

 speech if Janssen were required to make them in a New York Times advertisement.

 See, e.g., Pac. Gas & Elec. Co. v. Pub. Utils. Comm’n, 475 U.S. 1, 17–19 (1986)

 (“PG&E”). They are equally compelled speech when Janssen is required to sign a

 document that can be, and is, used by the President and other high-ranking officials

 to advance a narrative on a contested issue of public concern. The Government’s

 additional arguments that the First Amendment violation is cured by a “disclaimer”




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 drafted by CMS, and by Janssen’s ability to engage in additional counter-speech, are

 foreclosed by binding precedent.

        Finally, even if the Program could be viewed as voluntary, it would still

 violate the unconstitutional conditions doctrine.       Under that doctrine, the

 Government may not burden constitutional rights by coercively withholding benefits

 from those who exercise those rights. See Koontz v. St. Johns River Water Mgmt.

 Dist., 570 U.S. 595, 606 (2013). The Program imposes exactly such a burden by

 forcing Janssen to surrender its property rights in Xarelto® and engage in compelled

 speech in order to continue participating in Medicare and Medicaid.

        The Court should grant Janssen’s motion for summary judgment and deny the

 Government’s cross-motion.

                                    ARGUMENT

  I.    The Program is Not Voluntary.
        The Government devotes most of its brief to arguing that the Program is

  voluntary and therefore immunized from First and Fifth Amendment scrutiny. See

  Gov’t Br. 11–25. That argument fails because the Program is not voluntary. Rather,

  the IRA compels Janssen, both legally and economically, to comply with the

  Program’s terms. The purported alternatives cited by the Government either do not




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 exist or are not viable as applied to Janssen. 1       Because the Government’s

 voluntariness argument fails, the Court must evaluate Janssen’s First and Fifth

 Amendment claims under the same standards that would apply in any other case.

       A. Legal Compulsion Is Not Required to Establish Constitutional
          Injury, and Even if It Were, Janssen Has Made That Showing.

       On August 29, 2023, CMS issued an order selecting Janssen’s drug Xarelto®

 for the Program. 2 That order triggered an obligation for Janssen to “enter into [an]

 agreemen[t]” to “provide access to” Xarelto® at the “maximum fair price” imposed

 by CMS. 42 U.S.C. § 1320f-2(a). The Government nevertheless argues that the

 Program is voluntary because there is no “statutory provision requir[ing] entities to

 participate in Medicare or to sell their property.” Gov’t Br. 12–13 (citing Garelick

 v. Sullivan, 987 F.2d 913, 916 (2d Cir. 1993)). And because there is no express

 “legal compulsion,” the Government argues, the IRA cannot violate Janssen’s

 constitutional rights. Id. at 12. That argument contradicts Supreme Court precedent,

 which instructs that legal compulsion is not necessary for Janssen to prevail on its


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 1
   Contrary to the Government’s repeated assertion (at 11, 25, 26, 30), Janssen has
 not brought a facial challenge. Instead, Janssen asserts as-applied challenges to the
 Program based on undisputed facts concerning Janssen and Xarelto®. See, e.g.,
 Janssen Compl. ¶¶ 11, 132 (IRA “is unconstitutional as applied to Janssen in at least
 three ways[.]” (emphasis added)); Janssen Br. 22–23.
 2
  HHS Selects the First Drugs for Medicare Drug Price Negotiation (Aug. 29, 2023),
 https://www.hhs.gov/about/news/2023/08/29/hhs-selects-the-first-drugs-for-
 medicare-drug-price-negotiation.html. CMS also selected Stelara®, a drug marketed
 by Janssen Biotech, Inc., for the Program. See id.
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 First and Fifth Amendment claims. Even if legal compulsion were required, the

 Government’s argument would fail on its own terms because Janssen is legally

 required to comply with the Program’s requirements for at least a minimum period.

       1. The Supreme Court has rejected the notion that legal compulsion is

 necessary to establish a constitutional violation. In Horne, farmers brought a

 physical takings claim even though they were not required by law to enter the raisin

 market and could pay a penalty in lieu of giving up their property. 576 U.S. at 366,

 370. The Government seized on these “options” to argue that there was no taking

 because the farmers could “plant different crops” or “sell their raisin-variety grapes

 as table grapes or for use in juice or wine.” Id. The Court rejected that argument,

 holding that the Government had effected a taking even if the “raisin growers

 voluntarily ch[ose] to participate in the raisin market.” Id. at 365 (emphasis added).

 If legal compulsion had been necessary (as the Government now contends), the

 Court would have reached the opposite result. See also Loretto v. Teleprompter

 Manhattan CATV Corp., 458 U.S. 419, 439 n.17 (1982) (ability to “avoid

 [challenged law] by ceasing to rent the building to tenants” did not defeat landlord’s

 takings claim because property rights “cannot be so easily manipulated”).3


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 3
  Although the Government suggests (at 18) that Yee v. City of Escondido, 503 U.S.
 519 (1992), supports its position, subsequent takings decisions, such as Horne and
 Cedar Point, foreclose that argument. See, e.g., 307, 712, 2103 & 3151 LLC v. City
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       The Government relies (at 12–13) on a handful of out-of-circuit cases to

 support its legal compulsion argument, but those cases are inapposite for several

 reasons. First, nearly all of them predate Horne.4 To the extent those cases

 contradict Horne by imposing a legal compulsion requirement, they have no

 precedential weight in this (or any) Court—Horne controls. Second, those cases are

 factually distinct. None of the cases involved a situation like the one presented here,

 in which CMS selected Janssen for the Program—exposing Janssen to coercive

 penalties if it does not comply. The plaintiffs in the Government’s cases, in contrast,

 were free to enter or exit the various programs without penalty. Third, several of the

  cases—including the Government’s primary authority, Garelick—are inapposite

 because they involved regulatory takings claims, rather than physical takings claims.

 As the Supreme Court has explained, regulatory takings cases should not be used as

 “controlling precedents” when evaluating physical takings claims. Tahoe-Sierra

 Pres. Council, Inc. v. Tahoe Reg’l Plan Agency, 535 U.S. 302, 323 (2002). Finally,

 some of the cases do not support the Government’s argument that legal compulsion

 is always required. See, e.g., Franklin Mem’l Hosp. v. Harvey, 575 F.3d 121, 129–



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 of Minneapolis, 27 F.4th 1377, 1381–83 (8th Cir. 2022) (questioning whether Yee’s
 “voluntariness rationale” remains good law in light of Horne).
 4
  The sole exception is Southeast Arkansas Hospice, Inc. v. Burwell, 815 F.3d 448,
 450 (8th Cir. 2016), which in a single sentence contrasted the “voluntar[y]”
 Medicare hospice program with the raisin program challenged in Horne.
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 30 (1st Cir. 2009) (considering whether financial inducement, not legal compulsion,

 made MaineCare involuntary for participating hospitals).

       The recent order in Dayton Area Chamber of Commerce v. Becerra, No. 3:23-

 cv-156 (S.D. Ohio Sept. 29, 2023), lacks persuasive force for similar reasons. As a

 threshold matter, the decision is preliminary and addresses a due process claim not

 at issue here. The order concludes that “at this initial stage in the litigation process,

 it is too early to know—with the degree of certainty necessary for a preliminary

 injunction—that Plaintiffs have a strong likelihood of success on the merits.” Id. at

 24. Moreover, the decision’s voluntariness discussion consists of a single paragraph

 based on the same out-of-circuit, pre-Horne cases addressed above to suggest that

 manufacturers “are not legally compelled to participate in the [IRA] Program.” Id.

 at 23. That conclusion rests on a mistaken premise for the reasons given above. In

 addition, the Chamber decision does not address Horne or any of the other coercion

 arguments advanced in this brief.

       To be sure, the Supreme Court has recognized one limited situation that can

 mitigate a takings claim: the “voluntary” relinquishment of property in exchange for

 “a valuable Government benefit.” Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1007

 (1984); accord Horne, 576 U.S. at 366. The Government mentions this principle in

 passing (at 12), and several of the cases it cites rely on similar logic. But there is no

 exchange here. Janssen receives no benefit from the Program: it can either lose (by

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 participating in the Program with its unconstitutional demands) or lose even more

 (by incurring excise tax penalties for noncompliance). See Valancourt Books, LLC

 v. Garland, 82 F.4th 1222, 1232 (D.C. Cir. 2023) (rejecting voluntary exchange

 argument where plaintiff “receive[d] no additional benefit for the [property] they

 [were required to] forfeit”). 5

        The IRA also changes the federal healthcare markets in such a way that even

 if the Program could be construed as an exchange for benefits, it cannot be

 considered a voluntary exchange. When Janssen entered the Medicare Part D

 market, CMS was statutorily precluded from interfering with drug price

 negotiations. See 42 U.S.C. § 1395w-111(i) (2022). That was the market around

 which Janssen structured a significant portion of its business. See Penkowski Decl.,

 ECF 30-10, ¶¶ 4–11. The IRA fundamentally alters that regulatory landscape by

 creating a new Program, giving CMS authority to dictate Medicare drug prices “[f]or

 the first time,” Gov’t Br. 1, and imposing seismic economic consequences for

 noncompliance. The Government cannot point to Janssen’s participation in a prior

 regulatory regime that has since been replaced and claim that participation in the

 new regime is voluntary. This is especially so where the Program is specifically


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   The Law Scholar amici argue (ECF 48-3, at 14) that the Program is a voluntary
 exchange because Janssen received patents and other regulatory benefits before the
 IRA’s enactment. But none of those benefits stem from the Program, making them
 irrelevant to the voluntariness analysis. See, e.g., Monsanto, 467 U.S. at 1007.
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 designed to leverage reliance interests in the prior regime to compel compliance with

 the new scheme. Cf. Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 585 (2012)

 (“NFIB”) (“Congress is not free … to penalize States that choose not to participate

 in that new program by taking away their existing Medicaid funding.”).

       2. Even if the Government were right that legal compulsion is necessary,

 Janssen has made that showing here. The IRA is structured in such a way that once

 CMS selected Xarelto®, Janssen became subject to the Program: it could either

 comply or pay crushing excise taxes as a penalty for noncompliance. Indeed, it

 would make no sense to impose an excise tax on Janssen for “noncompliance,” 26

 U.S.C. § 5000D, unless Janssen was, in fact, legally obligated to comply. Janssen is

 thus compelled by law to “enter into agreements,” “negotiate to determine a

 maximum fair price,” provide “access” to Xarelto® at that price, submit confidential

 data, and “compl[y]” with any other requirements CMS deems to be “necessary.”

 42 U.S.C. § 1320f-2(a).

       The Government’s response to this legal compulsion is that Janssen can

 withdraw from Medicare and Medicaid to avoid the Program’s requirements and

 noncompliance penalties. But even then, the IRA requires Janssen to remain subject

 to the Program for at least some period of time. The IRA suspends the excise tax

 only after a manufacturer has provided notice of termination of all its Medicare and

 Medicaid agreements and terminated its Medicare agreements, see 26 U.S.C.

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 § 5000D(c)—a process that, by statute takes at least 11 months (and as long as 23

 months) to complete, see 42 U.S.C. §§ 1395w-114a(b)(4)(B)(ii), 1395w-

 114c(b)(4)(B)(ii).

       Following several lawsuits raising this issue, 6 CMS promulgated nonbinding

 guidance stating that the agency will treat “[t]ermination … [b]y a manufacturer,”

 which is required to avoid the excise tax, id. §§ 1395w-114a(b)(4)(B)(ii), 1395w-

 114c(b)(4)(B)(ii), as “[t]ermination … [b]y the Secretary,” id. §§ 1395w-

 114a(b)(4)(B)(i), 1395w-114c(b)(4)(B)(i); see Revised Guidance (Chiesa Decl. Ex.

 A, ECF 30-3) § 40.6. The effect of that regulatory sleight of hand is that the

 termination timeline conveniently shortens to 30 days. That approach contradicts

 the statute in numerous ways:      It collapses the statutory distinction between

 manufacturer-initiated and CMS-initiated termination; ignores the fact that the IRA

 suspends the excise tax only upon “the manufacturer” providing “notice” that its

 Medicare and Medicaid agreements have been “terminat[ed]” and the effective

 termination of any Medicare agreements; and transgresses statutory limits, which

 allow CMS to terminate such agreements only upon a manufacturer’s “knowing and

 willful violation of the requirements of the agreement or other good cause” related



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  See, e.g., Merck v. Becerra, No. 23-cv-01615, ECF 1 ¶¶ 6, 82 (D.D.C. June 6,
 2023); Dayton Area Chamber of Com. v. Becerra, No. 23-cv-00156, ECF 1 ¶¶ 96,
 98–100 (S.D. Ohio June 9, 2023).
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 thereto.   26 U.S.C. § 5000D(c); 42 U.S.C. §§ 1395w-114a(b)(4)(B), 1395w-

 114c(b)(4)(B). But even under the Government’s atextual theory, Janssen still

 cannot extricate itself from the Program for at least 30 days. See Revised Guidance

 § 40.6. Whether for one month or 23, Janssen must comply with the Program or be

 penalized for not doing so. That mandate amounts to legal compulsion.

       B. The “Choices” Available to Janssen Are Illusory.

       In addition to the legal coercion described above, Janssen has provided

 company-specific evidence showing that the Program is not voluntary because it

 employs economic coercion to force Janssen into compliance. See Penkowski Decl.

 ¶¶ 9, 11, 17–22, 27. For example, failing to comply with the Program’s requirements

 while remaining in Medicare and Medicaid would subject Janssen to billions of

 dollars in penalties, which, over the course of only one year, would amount to more

 than three times the 2022 adjusted net earnings of Janssen’s parent company. See

 id. ¶¶ 18–20. Withdrawing entirely from Medicare and Medicaid would not be

 feasible either; doing so would force Janssen to give up approximately 65 percent of

 its gross sales and would leave millions of patients without insurance coverage for

 the medicines on which they depend. See id. ¶¶ 9, 21. In short, no rational actor in

 Janssen’s position could seriously consider, let alone adopt, the courses of action

 that the Government contends make the Program voluntary.




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       The Government ignores Janssen’s evidence entirely.                Instead, the

 Government asserts that the Program is lawful because the IRA leaves Janssen

 theoretical “choices” other than participation in the Program. Gov’t Br. 6; see also

 id. 11–19. But those purported choices do not support the Government’s argument.

 Some of them do not exist. Others rely on litigation-driven contortions of the IRA’s

 structure that fail as a matter of law. Still others may exist in theory but are not

 available as applied to Janssen.

       1. The Government maintains that “[a] manufacturer that does not wish to

 sign” CMS’s Program agreement can “pay an excise tax.” Gov’t Br. 6. The

 Government devotes little attention to this supposed choice, and it is easy to see why:

 paying the tax would leave Janssen in a worse economic position than submitting to

 the CMS-imposed price for Xarelto®. See Penkowski Decl. ¶ 20. A demand to “give

 us an arm or we will take an arm and a leg” does not make handing over an arm

 voluntary. See NFIB, 567 U.S. at 582 (“threatened loss of over 10 percent of a

 State’s overall budget” was “economic dragooning that le[ft] the States with no real

 option but to acquiesce in the Medicaid expansion”). The Government’s attempts

 to dodge that straightforward conclusion are unavailing.

       First, the Government seeks to downplay the size of the excise tax by asserting

 that the Internal Revenue Service (“IRS”) “intends to propose regulations” that

 would, if adopted, limit the tax to “only those drugs dispensed, furnished, or

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 administered to Medicare beneficiaries.” Gov’t Br. 8. But the IRS has not proposed,

 much less finalized, those regulations—and there is no guarantee that they will ever

 go into effect. The mere possibility of future regulations cannot convert the tax into

 an acceptable choice. Cf. In re Murray Energy Corp., 788 F.3d 330, 334 (D.C. Cir.

 2015) (“[p]roposed rules” have no “legal consequences” (citation omitted)). Even

 if IRS did adopt the new rules, they would leave Janssen exposed to massive (just

 not quite as massive) penalties. And even that step would contravene the text of the

 IRA itself, which subjects all domestic sales of selected drugs to the excise tax. See

 26 U.S.C. § 5000D(a) (“impos[ing]” the tax “on the sale by the manufacturer … of

 any designated drug” (emphasis added)).7

       Second, the Government resorts to additional interpretive gymnastics to

 obscure the tax’s scope, contending (at 8) that the tax applies at a 95 percent rate,

 rather than 1900 percent.     The Government’s 95 percent figure refers to the

 proportion of the total invoice amount attributable to the excise tax. Thus, under the

 Government’s approach, when a manufacturer invoices a wholesaler $100 for a

 selected drug, the tax makes up $95 of that sum, while the manufacturer retains the


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   The statute’s exclusion for exports, see id. § 5000D(g), reinforces this conclusion:
 Because Medicare and Medicaid are domestic programs, the exemption would be
 surplusage if “the sale[s]” covered by the tax were only sales to those programs. See
 Obduskey v. McCarthy & Holthus LLP, 139 S. Ct. 1029, 1037 (2019) (applying
 principle that “courts generally presume that statutes do not contain surplusage”
 (cleaned up)).
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 remaining $5. Id. at 8–9 & n.1. But a $95 tax on a $5 sale and a $1900 tax on a

 $100 sale reflect exactly the same confiscatory rate of taxation: 1900 percent, or 19

 times, the revenue earned by the taxpayer. A true 95 percent tax on a $5 sale would

 be $4.75—a far cry from the $95 the Government would take from Janssen in the

 Government’s own example.        See also Chiesa Decl. Ex. D, ECF 30-6, at 4

 (Congressional Research Service report explaining that the tax “range[s] from

 185.71% to 1900% of the selected drug’s price”).

       At bottom, the Government’s hypothetical regulations and accounting

 maneuvers are a distraction. The Program is not voluntary because the IRA forces

 Janssen to comply with its terms or pay excise taxes that would extract an even

 greater economic toll. See, e.g., Penkowski Decl. ¶¶ 17–20. The Congressional

 Budget Office recognized as much, observing “that drug manufacturers will comply

 with the negotiation process because the costs of not doing so are greater than the

 revenue loss from lower … prices.” Chiesa Decl. Ex. F at 12.

       2. The Government further relies (at 15) on Janssen’s supposed “choice” to

 withdraw all of its drugs—not just Xarelto®—from both Medicare and Medicaid.

 Once again, the Government has not addressed Janssen’s evidence that this

 “purported choice is no choice at all.”        Janssen Br. 11.     The problem is

 straightforward: Medicare and Medicaid account for roughly half of prescriptions

 for Janssen drugs and 65 percent of Janssen’s gross revenues. Penkowski Decl. ¶ 9.

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 As a result, “Janssen’s ability to participate in [Medicare and Medicaid] is critical to

 its continued ability to innovate and compete.”          Id. ¶ 11.   Across-the-board

 withdrawal would require removing all 21 of Janssen’s drugs from those programs

 and depriving millions of Americans of coverage for these medications. Id. ¶ 21. 8

       Courts have recognized for nearly a century that a government program is not

 voluntary when it employs that sort of economic dragooning. In NFIB, for instance,

 the Supreme Court recognized that sufficiently strong economic coercion leaves the

 regulated party “with no real option but to acquiesce.” 567 U.S. at 582. Applying

 that principle, the Court held that Congress had coerced the States into accepting

 new Medicaid requirements by making compliance with them a prerequisite for

 receipt of Medicaid funds equal to “10 percent of a State’s overall budget.” Id. at

 582. The magnitude of that penalty distinguished NFIB from prior cases in which

 smaller inducements left program participants with the “prerogative to reject

 Congress’s desired policy, not merely in theory but in fact.” Id at 581 (cleaned up).

       Earlier decisions applied the same commonsense principle. For example, in

  Union Pacific Rail Road Co. v. Public Service Commission, the Supreme Court



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   The Government suggests in passing that Janssen could simply “stop selling
 [Xarelto®] to Medicare beneficiaries.” Gov’t Br. 14. But the IRA requires a
 manufacturer to withdraw all its products—not just the selected drug—from
 Medicare or Medicaid to escape the Program’s penalties. See 26 U.S.C. § 5000D(c);
 see also Revised Guidance § 40.6.
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 recognized that the Government may not “impose an unconstitutional burden” on a

 private railroad “by threat of [even greater] penalties” if the railroad “fail[s] to accept

 [that burden], and then … declare the acceptance voluntary.” 248 U.S. 67, 70

 (1918). Such economic “duress” would negate any purported “choice” between

 compliance and “grave penalties” because it would be “practically impossible not to

 comply with the terms of the law.” Id. (emphasis added). Likewise, the Court in

 United States v. Butler held that a “regulation [was] not in fact voluntary,” and the

 “asserted power of choice … illusory,” where Congress had used “coercion by

 economic pressure” “to induce [a regulated party] to surrender [its] independence of

 action.” 297 U.S. 1, 70–71 (1936); see also Carter v. Carter Coal Co., 298 U.S.

 238, 289 (1936) (concluding that a purportedly voluntary “agreement” to participate

 in a coal regulation program was “coerce[d]” and “lack[ed] the essential element of

 consent” because it was backed by provisions imposing substantial taxes for

 noncompliance, and observing that “[o]ne who does a thing in order to avoid a

 penalty does not agree”).

       In circumstances starkly similar to Janssen’s, the D.C. Circuit held that a

 comparably structured federal program restricting cotton production was

 involuntary. See Thompson v. Deal, 92 F.2d 478 (D.C. Cir. 1937). That program

 was structured such that existing cotton farmers had “options” to (1) not produce or

 sell cotton; (2) sell their cotton subject to a 50 percent tax on each bale; (3) sell their

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 cotton without paying the 50 percent tax and be subject to even greater fines and

 imprisonment; or (4) receive an allotment from the Secretary of Agriculture to sell

 cotton tax- and penalty-free. Id. at 329, 333. Yet to take the fourth “option” and

 receive an allotment, a farmer had to sign an agreement with the Secretary of

 Agriculture “to comply with the limitations on production … not only as to cotton

 but as to all other agricultural commodities.” Id. And for any cotton produced in

 excess of that allotment, a farmer would have to purchase additional allotment

 certificates at 40 percent of the cotton bales’ value (i.e., 10 percent less than the tax

 the farmer would otherwise have to pay). Id. at 329, 333. Given these “options,”

 the court held that “[t]he asserted power of choice [was] illusory” because the

 program exercised “coercion by economic pressure”: “No farmer … was in position

 to refuse to sign the agreement … to accept his allotment as the Secretary made it,”

 and any purchase of excess cotton certificates was similarly “made under

 compulsion” to avoid a higher noncompliance tax. Id. at 333–34. The parallels with

 the IRA’s use of illusory “options” and economic coercion to compel Janssen’s

 compliance with the Program are clear. 9




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   See also, e.g., Philip Morris, Inc. v. Harshbarger, 159 F.3d 670, 678–79 (1st Cir.
 1998) (“forc[ing] a party to make a Hobson’s choice” between disclosing “valuable
 trade secrets without adequate safeguards to remain in business” or “ceas[ing] …
 business in an important market” was “the essence of legal compulsion”).
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       The Government responds only to NFIB and improperly writes off that case.

 According to the Government, the economic coercion principle does not apply here

 because it “is derived exclusively from cases analyzing … federalism principles.”

 Gov’t Br. 20. It is true that federalism concerns played a role in NFIB. See 567 U.S.

 at 577–78. But the Government goes too far in suggesting that economic coercion

 matters in the federalism context alone. Union Pacific, Carter, Butler, Thompson,

 and Philip Morris applied the same principles to private parties. Janssen is situated

 similarly to the businesses that were coerced into compliance in those cases, and the

 economic coercion principle applies equally here. 10

       3. The Government also suggests that Janssen has the “option” of avoiding

 the Program by divesting Xarelto®. Gov’t Br. 2, 14, 17, 23, 24. 11 That argument

 disregards common sense and economic reality. Contrary to the Government’s

 speculation, it is doubtful that a willing buyer would emerge for a drug burdened by

 the Program. Further, any hypothetical buyer of the rights to Xarelto® would

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    The fact that Janssen has signed the Manufacturer Agreement does not make this
 issue “purely academic.” Govt Br. 15. Janssen signed the Agreement under protest.
 In doing so, Janssen proceeded in the same fashion as the challengers in the other
 cases surveyed above—it complied, but only out of necessity. Such coerced
 compliance is not evidence of voluntariness. See, e.g., Butler, 297 U.S. at 70–71.
 11
   The Government asserts (at 14) that Janssen can “divest its interest in the selected
 drug to a subsidiary” and avoid the portfolio-wide consequences of declining to sell
 to Medicare. But doing so would violate CMS’s directive that a divestiture only
 affects application of the excise tax if “the transfer … was made to an entity that is
 not a related party.” Revised Guidance at 132.
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 immediately face the same obligations that the Program currently imposes on

 Janssen and therefore would discount the price it is willing to pay in light of those

 burdens. The transaction would, in other words, be a “fire sale” that could impose

 on Janssen the same harm as would participation in the Program. The possibility of

 such a transaction thus does not mitigate the Program’s coercive effects.12

       C. The Government Is Not Acting as a Market Participant.
       Finally, the Government seeks to excuse the Program’s coercive terms on the

 ground that CMS is simply exerting economic “pressure” by using its “leverage” as

 “any well-funded market participant” would do. Gov’t Br. 21–22. Not so.

       The Government is acting as a regulator here, not a market participant.

 Market participants cannot impose confiscatory taxes on counterparties who do not

 accept their demands. See 26 U.S.C. § 5000D; Revised Guidance §§ 40.1, 40.6,

 60.8, 90.1, 100.2. Nor do market participants have the right to unilaterally establish

 regulations that govern the conduct of counterparties or to impose civil monetary

 penalties when counterparties fail to comply with those regulations—powers the

 IRA grants CMS here. See, e.g., 42 U.S.C. § 1320f-6; Revised Guidance § 100


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   The Government does not cite a single case in which the possibility of divestiture
 barred a First Amendment claim, and there are scores of cases that would have come
 out differently if the Government’s theory were correct. To take just one example,
 the plaintiff in Miami Herald Publishing Co. v. Tornillo, 418 U.S. 241 (1974), could
 have sold its newspaper rather than complying with the challenged regulation, but
 that did not insulate the regulation from First Amendment scrutiny.
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 (adopting a “structure for enforcement actions” regarding “violations” of CMS

 directives). Ordinary market participants cannot revise a contract unless the other

 party accepts the changes; CMS, in contrast, retains the right to amend the

 Manufacturer Agreements that govern the “negotiation” process at any time, without

 the manufacturer’s consent. See Manufacturer Agreement (Chiesa Decl. Ex. B, ECF

 30-4) §§ II(e), IV(b).

       That CMS exercises those powers through the Program highlights its

 quintessentially regulatory role. Congress could have authorized CMS to leverage

 its significant share of the healthcare market to negotiate drug prices—without

 layering on excise taxes, regulations, civil monetary penalties, and the rest of the

 Program’s elaborate structure.    But that framework would have left open the

 possibility that some manufacturers would decline CMS’s offer—thus leaving

 Medicare beneficiaries without coverage for the selected drugs (which, given the

 Program’s design, are among the most widely prescribed drugs in the market).

 Congress enacted the coercive provisions described above—thus augmenting

 CMS’s economic power with sovereign power—to prevent that politically

 unacceptable outcome. No amount of litigation posturing by the Government can

 change that fact.

       Antitrust principles further undermine the Government’s market-participant

 analogy. Medicare and Medicaid together account for nearly 40 percent of the U.S.

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 prescription drug market—a fact that recently led the Third Circuit to observe that

 “[t]he federal government dominates the healthcare market.” Sanofi Aventis U.S.

 LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023); see Janssen Br. 6 n.8. Under the

 antitrust laws, a party in that position possesses market power. See Jefferson Parish

 Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 26–29 (1984); U.S. Dep’t of Justice & Federal

 Trade Commission, Draft Merger Guidelines 19 (2023).            If a private market

 participant were in CMS’s position—leveraging its market power by tying the

 purchase of all Janssen’s drugs to obtain one drug on favorable terms—that conduct

 would face a serious antitrust challenge. See Century Aluminum of S.C. v. S.C. Pub.

 Serv. Auth., 278 F. Supp. 3d 877, 882 (D.S.C. 2017) (“tying arrangement[s]”

 involving the sale of “one product … only on the condition that a buyer also

 purchases a different product” are “forbidden”). No true market participant could

 do what the Program allows without implicating the antitrust laws. 13




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    The Government claims (at 6, 24) that the Program is “routin[e]” by analogizing
 it to other federal programs. But the programs the Government cites differ in
 important ways. For example, none allows the Government to single out individual
 drugs for participation or punish manufacturers for noncompliance by imposing
 enormous taxes on all sales of selected drugs.
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       The Program Effects an Unconstitutional Taking of Janssen’s Xarelto®
       Products.

       The IRA inflicts a physical taking by granting Medicare participants a

 statutory right to “access” Janssen’s Xarelto® products over Janssen’s objection. See

 Janssen Br. 16–22. 14

       Beyond its erroneous voluntariness arguments, the Government offers little

 response to Janssen’s takings claim. The Government’s primary argument is that

 mandated access to Xarelto® is not a taking because manufacturers are not required

 “to surrender their drugs.” Gov’t Br. 25, 27. That defense is contrary to settled

 takings jurisprudence and the Program’s structure.

       The critical question on a physical takings claim is whether the Government

 has deprived the plaintiff of its property rights. Janssen Br. 17 (citing Cedar Point,

 141 S. Ct. at 2071). Those rights include the rights to control the “possess[ion],

 use[,] and dispos[ition] of” one’s property, Horne, 576 U.S. at 360, and “to exclude

 others” from accessing the property, Kaiser Aetna v. United States, 444 U.S. 164,

 176 (1979). When the Government appropriates these rights for its own benefit or

 the benefit of others, a “simple, per se rule” applies: “The government must pay for

 what it takes.” Cedar Point, 141 S. Ct. at 2071.

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   Janssen’s claim concerns physical doses of Xarelto®—i.e., the pills themselves.
 See, e.g., Janssen Compl. ¶¶ 90, 93; Janssen Br. 15. As a result, the Government’s
 argument (at 26–27) that Janssen does not have a right to “sel[l] [its] drugs to
 Medicare at any particular price” is irrelevant to the takings analysis.
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        Here, the Program appropriates Janssen’s rights to control the disposition of

 its Xarelto® products and to set the terms on which third parties can access those

 products.   The IRA requires that Janssen “shall … provid[e]” third parties in

 Medicare “access to the maximum fair price … with respect to” Xarelto®. 42 U.S.C.

 § 1320f-2(a)(3). In other words, the IRA obligates Janssen to give third parties

 access to its drugs on the Government’s terms, and thereby “appropriates a right to

 physically invade [Janssen’s] property—to literally ‘take access’ as the [statute]

 provides.” Cedar Point, 141 S. Ct. at 2074. That appropriation of property rights is

 a per se physical taking under Cedar Point and Horne. See Janssen Br. 20.

        The Government next protests that “CMS will not send trucks to

 Janssen’s … facility … to haul away drugs” as the Government did in Horne, Gov’t

  Br. 28 (cleaned up), but that argument misses the key constitutional point. What

  mattered in Horne is that the Government’s action, regardless of its form, resulted

 in the raisin growers losing “the rights to possess, use and dispose of” their property.

 Id. at 361–62.     As the Supreme Court later explained in Cedar Point, an

 appropriation of property rights “constitutes a per se physical taking” regardless of

 whether the taking involves physical seizure or instead “comes garbed” as a

 regulation. 141 S. Ct. at 2071. The Government’s suggestion that only a fleet of

 trucks can inflict a physical taking misunderstands the inquiry, which focuses on the




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 challenged law’s effects on property rights, not how the law causes those effects. See

 id. (collecting cases involving physical takings through various mechanisms).

       The Government again exalts form over substance in arguing (at 29) that the

 IRA’s access provision mandates only access to price rather than access to product.

 The access provision, no matter how artfully worded, will result in third parties

 taking possession of Xarelto® products—again, the pills themselves—on terms set

 by the Program. The Government does not (and cannot) dispute this reality. It

 makes no sense for a beneficiary to have “access” to a price without the associated

 product. Reading the IRA as the Government suggests would defeat the Program’s

 core purpose of providing access to drugs at lower prices. The Government’s own

 brief acknowledges as much by stating (repeatedly) that under the Program, Janssen

 will “provide Medicare beneficiaries access to the drug at the negotiated price,” and

 that the Manufacturer Agreement is “the source of the enforceable obligation for

 manufacturers to ultimately provide their drugs at the negotiated prices.” Gov’t Br.

 at 6, 37 (emphases added); see also id. at 32.

       The Government’s final line of defense relies on a flawed analogy to public

 utilities cases. According to the Government, Janssen is on “somewhat equal footing

 with public utilities”—a sector in which “the Supreme Court has not treated … rate-

  setting as physical takings.” Id. at 30 (cleaned up). That body of case law is

  inapplicable here. As the Government acknowledges, Janssen is “not challenging

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 any particular rate.” Id. (cleaned up & emphasis added). Rather, Janssen’s claim

 concerns the IRA’s statutory right to access physical Xarelto® products, not the

 “maximum fair price” issued by CMS for those products. Nor can the Government

 plausibly argue that Janssen is a public utility:       Any “evolution of takings

 jurisprudence” to treat public utilities differently, id., stems from “th[e] partly

 public, partly private status of utility property [which] creates its own set of

 questions under the Takings Clause,” Duquesne Light Co. v. Barasch, 488 U.S. 299,

 307 (1989) (emphasis added). Janssen, however, is purely private—and the same is

 true for the Xarelto® products it markets. See Horne, 576 U.S. at 358–60. The

 Government does not cite a single case in which Janssen or any other drug

 manufacturer has been classified as a public utility for Takings Clause purposes, and

 there is no reason for this Court to break new ground on that issue here.

       The IRA Violates the First Amendment by Compelling Janssen to
       Endorse the Government’s Message That the Program Involves
       “Negotiations” Regarding “Fair” Prices.

       The IRA also violates Janssen’s First Amendment right not to be compelled

 to endorse the Government’s favored message. “[T]he principle that each person

 should decide for himself or herself the ideas and beliefs deserving of expression” is

 “[a]t the heart of the First Amendment.” Turner Broad. Sys., Inc. v. FCC, 512 U.S.

 622, 641 (1994).     Accordingly, “[g]overnment action that requires stating a

 particular message favored by the government violates the First Amendment right


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 to refrain from speaking.” Miller v. Mitchell, 598 F.3d 139, 151 (3d Cir. 2010);

 accord Janus v. AFSCME Council 31, 138 S. Ct. 2448, 2463 (2018). Government

 efforts to “compel speakers to utter or distribute speech bearing a particular

 message” are subject to “the most exacting scrutiny,” Turner, 512 U.S. at 642, and

 are permissible only in rare circumstances when the government demonstrates that

 the compelled speech is “a narrowly tailored means of serving a compelling

 [government] interest,” PG&E, 475 U.S. at 17, 19 (plurality opinion).

       Here, the IRA has compelled Janssen to sign an “agreement” stating that it

 will “negotiat[e]” with CMS to determine a “maximum fair price” for Xarelto®.

 Janssen believes that each of these statements is false and does not wish to express

 support for any of them. In Janssen’s view, there is no genuine “agreement” because

 it has no viable option not to comply with the Program’s requirements; there is no

 “negotiation” because Janssen must accept whatever price CMS sets for Xarelto®;

 and the price will not be “fair” because it will be set below market levels, based on

 CMS’s unilateral determination.

       By signing the Manufacturer Agreement, Janssen has been compelled to

 endorse the Government’s preferred narrative that the IRA provides for negotiated

 drug prices rather than government-imposed price controls. See Janssen Br. 29–33.

 That narrative gives the Government the best of both worlds: it can effectively

 impose price controls (which are politically unpopular), while maintaining that it is

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 merely engaging in price negotiations (which are more palatable). See id. 27 n. 21

 (citing polling data). The Government has repeated this narrative at every turn. For

 example, soon after Janssen and other manufacturers signed Program “agreements”

 drafted entirely by CMS, the President announced that manufacturers “are coming

 to the negotiating table.” 15 Earlier, the President stated that the IRA “give[s]

 Medicare the power to negotiate drug prices,” see Janssen Br. 27 n.22, and CMS’s

 guidance and legal briefs frequently repeat this message.16 Even the Government

 draws conclusions about Janssen’s and other manufacturers’ subjective intentions

 from the Manufacturer Agreements they signed—illustrating the communicative

 value of the speech compelled by the IRA. See Gov’t Br. 15 (“Neither Janssen nor

 BMS has indicated that it wishes to withdraw from the Negotiation Program or from

 Medicare; to the contrary, both companies have signed agreements to negotiate.”

 (emphasis added)). The Government is free to advance its preferred narrative, but




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    President Biden, X (Oct. 3, 2023, 8:05 AM), https://twitter.com/POTUS/sta-
 tus/1709177956285759844?s=20; The White House, Biden-Harris Administration
 Takes Major Step Forward in Lowering Health Care Costs; Announces
 Manufacturers Participating in Drug Price Negotiation Program (Oct. 3, 2023),
 https://www.whitehouse.gov/briefing-room/statements-releases/2023/10/03/biden-
 harris-administration-takes-major-step-forward-in-lowering-health-care-costs-
 announces-manufacturers-participating-in-drug-price-negotiation-program/.
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   See, e.g., Govt. Br., Merck & Co. v. Becerra, No. 23-cv-1615, ECF 24-1, at 12,
 15–18 (D.D.C. Sept. 11, 2023); Gov’t Br., Dayton Area Chamber of Commerce v.
 Becerra, No. 23-cv-156, ECF 34, at 4–6, 10 (S.D. Ohio Aug. 11, 2023).
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 cannot constitutionally require Janssen to endorse that message “by word or act.”

 W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).

       The Government’s responses to Janssen’s First Amendment claim fall short.

 At the outset, it is important to note that the Government does not argue that

 requiring Janssen to sign a contract reciting that it is engaging in a “negotiation”

 with CMS to set a “fair price” is narrowly tailored to serve a compelling government

 interest. Indeed, the Government does not argue that it can survive any form of

 heightened scrutiny. Any such argument would be doomed because the Government

 has no valid interest, let alone a compelling interest, in conscripting manufacturers

 to amplify its political message, and the Government could achieve its goal of

 lowering drug prices through a variety of means that do not infringe manufacturers’

 First Amendment rights. See Janssen Br. 33–35.

       Having effectively conceded that it cannot survive First Amendment scrutiny,

 the Government reprises its argument that the First Amendment is not implicated

 because the Program is “entirely voluntary.” Gov’t Br. 31. But the Program is not

 “voluntary,” see supra Part I, and, at any rate, the Supreme Court has “rejected the

 validity of limitations on First Amendment rights as a condition to the receipt of

 public benefits,” Elrod v. Burns, 427 U.S. 347, 359 (1976) (plurality opinion); see

 also infra Part IV.




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       The Government next retreats to an even more radical, untenable argument:

 Janssen’s signing of the Manufacturer Agreement is not “‘speech’ or ‘expression’

 protected by the First Amendment” at all. Gov’t Br. 31. The Supreme Court has

 recognized that the scope of the “speech” protected by the First Amendment is

 extremely broad and includes expressive conduct as well as spoken or written

 language. See, e.g., Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 505

 (1969) (wearing armbands to protest Vietnam War is protected by First

 Amendment); Texas v. Johnson, 491 U.S. 397, 406 (1989) (flag burning “sufficiently

 imbued with elements of communication” to implicate First Amendment (cleaned

 up)). Government mandates applicable to “the written or spoken word” are subject

 to even more demanding First Amendment scrutiny. Johnson, 491 U.S. at 406.

       There can be no real debate that signing the Manufacturer Agreement

 constitutes “speech” within the First Amendment’s broad protective sweep. See

 Sorrell, 564 U.S. at 570 (recognizing that the “creation and dissemination of

 information are speech within the meaning of the First Amendment”).             The

 Manufacturer Agreement goes further than a run-of-the-mill contract that merely

 sets forth the terms of a transaction: It repeats and amplifies the Government’s

 message—a     controversial   political   message—that    the   Program    involves

 “negotiation” with manufacturers resulting in a “fair price,” rather than top-down

 government price-setting. Just as “[a]n individual expresses a view on a political

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 matter when he signs a petition,” John Doe No. 1 v. Reed, 561 U.S. 186, 194–95

 (2010), a manufacturer endorses the Government’s political message by signing an

 “agreement” to “negotiate” a “maximum fair price.”

        The Government’s brief does not cite a single case holding that agreements

 are not speech protected by the First Amendment.17 Instead, it falls back to an

 argument that any speech “implicated by the execution of an ordinary contract ‘is

 plainly incidental to the … regulation of conduct’ that is governed by the contract.”

 Gov’t Br. 31 (quoting Rumsfeld v. Forum for Acad. & Institutional Rts., Inc., 547

 U.S. 547, 47, 62 (2006) (“FAIR”)). But as already explained, the Manufacturer

 Agreement is not an “ordinary contract” because it goes beyond regulating conduct

  and coopts Janssen to endorse the Government’s message that the IRA involves

  “negotiations” on a “fair price.” The validity of that message is an issue of public

  concern that is not merely incidental to the regulation of conduct, as demonstrated

  by the title of the “Drug Price Negotiation Program,” debate regarding the Program




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   One of the Government’s amici incorrectly asserts that Ohralik v. Ohio State Bar
 Association, 436 U.S. 447 (1978), “provides numerous examples of speech exempt
 from First Amendment scrutiny.” Abrams Institute Amicus Br. 10 n.10 (emphasis
 added). Ohralik merely observed that “the State does not lose its power to regulate
 commercial activity deemed harmful to the public whenever speech is a component
 of that activity,” not that the First Amendment is inapplicable to certain forms of
 speech. Id. at 456.
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 in Congress,18 and the repeated statements of government officials, including the

 President, prominently employing the same message. The IRA’s requirements are

 thus quite different from a statute requiring that military recruiters have access to

 college campuses. See FAIR, 547 U.S. at 59. Nor is this case like Nicopure Labs,

 LLC v. FDA, which involved a statutory ban on distribution of free e-cigarette

 samples—thus effectively prohibiting manufacturers from offering e-cigarettes at

 “zero dollars.” 944 F.3d 267, 292 (D.C. Cir. 2019). Here, unlike in Nicopure, the

 IRA’s requirements do not bear “only on product price,” id., but instead convey that

 the process leading to the price is a “negotiation” that will achieve a “fair” result.

       After manufacturers raised First Amendment claims in litigation, CMS

 responded by adding a “disclaimer” to the Manufacturer Agreement. The disclaimer

 does not cure the First Amendment violation. For one thing, the compelled speech

 arises from the IRA itself, rather than from CMS’s implementation of the statute.

 The IRA bases the Program entirely on “agree[ments]” to “negotiat[e]” “maximum

 fair price[s].” 42 U.S.C. § 1320f-2(a). Moreover, the Government cannot insulate

 speech mandates from First Amendment scrutiny merely by including a disclaimer


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    See, e.g., 168 Cong. Rec. S4155–56 (Aug. 6, 2022) (remarks of Sen. Crapo)
 (advocating against the Program’s “system of bureaucratic drug price controls”
 because it involves “negotiation in name only” and makes manufacturers “an offer
 [they] can’t refuse”); 168 Cong. Rec. S4500 (Sept. 8, 2022) (remarks of Sen. Thune)
 (advocating against IRA because the Program’s “price controls … will discourage
 medical innovation and reduce the number of new treatments and cures”).
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 (which is, in effect, additional compelled speech) stating that the speaker might not

 agree with the message it is being compelled to convey. As the Third Circuit

 explained in another case involving a disclaimer, “the fact that the schools can issue

 a general disclaimer along with the [required] recitation does not erase the First

 Amendment infringement at issue here, for the schools are still compelled to speak

 the Commonwealth’s message. Otherwise, the state may infringe on anyone’s First

 Amendment interest at will, so long as the mechanism of such infringement allows

 the speaker to issue a general disclaimer.” Circle Sch. v. Pappert, 381 F.3d 172, 182

 (3d Cir. 2004).

       For similar reasons, the Government’s argument (at 35) that Janssen is free to

 engage in additional speech expressing its views on the Program does not resolve

 the First Amendment problem. The Government cannot “require speakers to affirm

 in one breath that which they deny in the next.” PG&E, 475 U.S. at 15 nn. 11 & 16.

 Were it otherwise, the Government could compel citizens to endorse any

 government message, simply by leaving compelled speakers free to engage in

 additional speech expressing their true opinions. The Government’s argument that

 Janssen is free to engage in additional speech simply “begs the core question.”

 Miami Herald, 418 U.S. at 256.

       Contrary to the Government’s suggestion (at 34), recognizing the validity of

 Janssen’s First Amendment claim will not open the floodgates to a stream of First

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 Amendment challenges to government contracts. The IRA’s statutory scheme is

 highly unusual, and therefore a ruling in Janssen’s favor will not cast all government

 contracts or price regulation schemes into doubt. What makes the Program unique

 is the Government’s use of coerced agreements and faux negotiations to avoid the

 political costs of adopting a price-setting regime.19 The other agreements that the

 Government cites (at 32) lack the Program’s artificial negotiation overlay. Compare

 42 U.S.C. §§ 1395cc, 1396r-8(b), (c) (governing typical Medicare provider

 agreements and Medicaid rebate agreements, which do not require counterparties to

 “agree” that the price CMS pays is “fair” or the result of “negotiations”).

        Because violations of the First Amendment “constitut[e] irreparable injury,”

  injunctive relief is warranted here. Elrod, 427 U.S. at 373. Courts routinely award

  injunctive relief in compelled speech cases, see Janssen Br. 35–36 (collecting cases),

  and the Government does not challenge that well-settled principle. Instead, it

  suggests that “[a]dditional briefing might be required to address the appropriate

  scope of remedy” if the Court agrees that IRA unconstitutionally compels speech.

  Gov’t Br. 38. The Court should reject that procedural gambit: The Government had


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    Other laws charge federal agencies with setting prices, without relying on
 agreements or negotiations between regulator and regulatee. Compare 15 U.S.C.
 § 717d(a) (directing Federal Energy Regulatory Commission to “determine the just
 and reasonable rate” of natural gas for resale in interstate commerce); 49 U.S.C.
 § 10704 (granting Surface Transportation Board the power to “prescribe the
 maximum rate” a rail carrier may charge “after a full hearing”).
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 an obligation to raise whatever arguments it wished to make in its opening brief, and

 thus has forfeited any arguments on the scope of injunctive relief. See, e.g., United

 States v. Boggi, 74 F.3d 470, 478 (3d Cir. 1996) (declining to consider arguments

 raised for the first time in a reply brief).

        Even if the Program Were Voluntary, It Would Violate the
        Unconstitutional Conditions Doctrine.

        The Government hinges its defense on the notion that a manufacturer’s entry

 into the Program and underlying participation in Medicare are voluntary. See Gov’t

 Br. 11–25; supra Part I. But even if the Program were voluntary (it is not),

 application of its coercive provisions to Janssen would still be unconstitutional.

        The    “unconstitutional     conditions      doctrine   forbids   burdening   the

 Constitution’s enumerated rights by coercively withholding benefits from those who

 exercise them.” Koontz, 570 U.S. at 606; see also Janssen Br. 36–39 (citing cases).

 In other words, the doctrine forbids the IRA from requiring Janssen to give up its

 First and Fifth Amendment rights “in exchange for a discretionary benefit conferred

 by the government.” Dolan v. City of Tigard, 512 U.S. 374, 385 (1994).

        The Government errs in suggesting (at 36, 38) that the unconstitutional

 conditions doctrine does not apply because participation in Medicare is voluntary.

 The fact that Janssen lacks a right to participate in Medicare and Medicaid, and (on

 the Government’s misguided view) may “choose to withdraw from Medicare,”

 Gov’t Br. 36 & n.11, is “immaterial” to a claim under the unconstitutional conditions
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 doctrine, Perry v. Sindermann, 408 U.S. 593, 598 (1972). Instead, the doctrine

 applies where, as here, the Government conditions access to a valuable benefit on

 surrender of a participant’s constitutional rights, even when the participant

 voluntarily seeks the benefit in the first place. See id.; Dolan, 512 U.S. at 385.

       By the Government’s own reasoning, the Program forces Janssen to “choose

 between,” id. at 385–86, remaining in the critical Medicare and Medicaid markets

 and the exercise of Janssen’s constitutionally protected property and speech rights.20

 The unconstitutional conditions doctrine recognizes that, even if the Program is

 considered to be voluntary as a legal matter, the practical reality is that Janssen has

 “no choice, except a choice between the rock and the whirlpool—an option to forego

 a privilege which may be vital to [its] livelihood or submit to a requirement which

 may constitute an intolerable burden.” Frost v. R.R. Comm’n, 271 U.S. 583, 593

 (1926) (finding state law unconstitutional where it conditioned permit for private

 carrier to operate on public highways on acceptance of common carrier obligations).

 The Program is unconstitutional because the government “may not impose




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    See, e.g., Gov’t Br. 2 (“Plaintiffs may be dissatisfied with the conditions this
 program imposes on future Medicare spending[.]”), 6 (“These conditions parallel
 those Congress has long attached to other government healthcare programs.”), 13
 (“If a provider dislikes the conditions offered by the government, it can simply
 withdraw from the program.”) (all emphases added).
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 conditions” on a valuable privilege “which require the relinquishment of

 constitutional rights.” Id. at 593–94.

       The Government’s remaining arguments fare no better. With respect to

 Janssen’s First Amendment right to refrain from endorsing messages it opposes, the

 Government argues that the Program’s speech mandates merely “pertain to the

 nature of the government program” and therefore permissibly “define” the Program.

 Gov’t Br. 37, 38 (quoting Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570

 U.S. 205, 217 (2013) (“USAID”)). The Supreme Court’s decision in USAID does

 not support the Government’s position. Although the Court noted that the line

 between conditions that properly “define the federal program” and conditions that

 improperly “reach outside it … is not always self-evident,” the Court was

 “confident” that when the Government “compel[s]” the recipient of a benefit to

 “adopt … the Government’s view on an issue of public concern, the condition by its

 very nature affects protected conduct outside the scope of the federally funded

 program.” Id. at 217, 218 (emphasis added).

       Here, because the Program does not involve actual “negotiation” or a bona

 fide “agreement,” coercing Janssen to endorse those messages “must be doing

 something more.” Id. at 218. The Program uses CMS’s control of the prescription

 drug market to “leverage” an endorsement of its political narrative “outside the

 contours of the program itself.” Id. at 214–15. The Program thus “falls on the

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 unconstitutional side of the line.” Id. at 217; see also id. at 215 (“Congress cannot

 recast a condition on funding as a mere definition of its program in every case, lest

 the First Amendment be reduced to a simple semantic exercise.” (cleaned up)).

        With respect to the Fifth Amendment, the Government cannot justify the

 taking of Janssen’s Xarelto® products as a condition on Janssen’s participation (for

 all of its products) in Medicare and Medicaid. That requirement violates the

 unconstitutional conditions doctrine because it is not proportional to the benefit

 sought. See Koontz, 570 U.S. at 605–06 (setting out this test); Janssen Br. 38

 (applying the test here). Although the Government contends (at 37) that the

 proportionality principle is limited to the land-use context, that argument proves too

  much. While cases articulating the proportionality test involved “misuse of the

  power of land-use regulation,” Koontz, 570 U.S. at 599, that does not mean the test

  is inapplicable to other types of governmental action. Indeed, the land-use cases

  relied on precedent across the range of enumerated constitutional rights, see Dolan,

  512 U.S. at 385 (citing cases), and cases outside the land-use context have applied

  similar proportionality principles, see, e.g., Mem’l Hospital v. Maricopa County, 415

  U.S. 250, 258–59 & n.13 (1974).

        Regardless, even if the proportionality test did not apply here, it is clear that

  the unconstitutional conditions doctrine does apply. See, e.g., Koontz, 570 U.S. at

  604 (explaining that the unconstitutional conditions doctrine “reflect[s] an

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 overarching principle … that vindicates the Constitution’s enumerated rights”);

 R.S.W.W., Inc. v. City of Keego Harbor, 397 F.3d 427, 434 (6th Cir. 2005)

 (unconstitutional conditions doctrine applies broadly across “constitutional

 provisions, including the Takings Clause”). Thus, at a minimum, the Program is

 unlawful if the condition it imposes—requiring Janssen to grant Medicare

 participants “access” to Xarelto® products—would violate the Fifth Amendment if

 required outright. See, e.g., Maricopa County, 415 U.S. at 258 (applying same test

 to condition burdening constitutional right as law infringing that right directly);

 R.S.W.W., 397 F.3d at 436 (same).21 The Program fails that test, see supra Part II,

 and thus violates the unconstitutional conditions doctrine even if it is voluntary.

                                   CONCLUSION
       For the foregoing reasons, and those set forth in Janssen’s Opening Brief, the

 Court should grant summary judgment in favor of Janssen.

                                         Respectfully submitted,

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    Horne suggests an even more stringent test: When the Government requires the
 “relinquish[ment of] specific, identifiable property as a ‘condition’” on market
 participation, it effects a “per se taking.” 576 U.S. at 364–65.
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